                  Case 23-11388-CTG              Doc 14       Filed 09/07/23         Page 1 of 27




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )      Chapter 11
                                                              )
    OFF LEASE ONLY LLC,1                                      )      Case No. 23- 11388 (CTG)
                                                              )
                              Debtors.                        )      (Joint Administration Requested)
                                                              )
                                                              )

     MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
        AUTHORIZING THE DEBTORS TO PAY CERTAIN PREPETITION AND
      POSTPETITION TAXES AND FEES AND (II) GRANTING RELATED RELIEF

             Off Lease Only LLC, Off Lease Only Parent LLC, and Colo Real Estate Holdings LLC,

the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”) seek entry of

interim and final orders, substantially in the forms attached hereto as Exhibit A (the “Interim

Order”) and Exhibit B (the “Final Order” and, together with the Interim Order, the “Proposed

Orders”), respectively, pursuant to sections 105(a), 363(b), 507(a)(8), and 541 of title 11 of the

United States Code (the “Bankruptcy Code”), Rules 6003 and 6004 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1(m) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), (i) authorizing, but not directing, the Debtors, in their sole discretion,

to pay certain Taxes and Fees (as defined herein) without regard to whether such obligations

accrued or arose before or after the Petition Date (as defined herein) and (ii) granting related relief.

In support of this motion (the “Motion”), the Debtors rely upon and incorporate by reference the




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.


DOCS_DE:244649.1
                 Case 23-11388-CTG              Doc 14        Filed 09/07/23       Page 2 of 27




Declaration of Leland Wilson in Support of Chapter 11 Petitions and First Day Motions (the “First

Day Declaration”), 2 filed contemporaneously herewith. In further support of this Motion, the

Debtors respectfully state as follows:

                                      JURISDICTION AND VENUE

         1.        The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.        Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final order

by the Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

         3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The statutory bases for the relief requested in this Motion are sections 105(a),

363(b), 507(a)(8), and 541 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and Local

Rule 9013-1(m).

                                               BACKGROUND

         5.        On the date hereof (the “Petition Date”), the Debtors commenced these chapter 11

cases by filing petitions for relief pursuant to chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”).

         6.        The Debtors continue to manage and operate their business as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
    Declaration.


                                                          2
DOCS_DE:244649.1
                 Case 23-11388-CTG             Doc 14        Filed 09/07/23       Page 3 of 27




         7.        As of the date hereof, no trustee, examiner, or official committee has been

appointed in the Chapter 11 Cases.

         8.        A detailed description of the Debtors, including their business operations, their

corporate and capital structure, the events leading to the filing of these Chapter 11 Cases, and the

facts and circumstances supporting this Motion, are set forth in greater detail in the First Day

Declaration and are incorporated by reference herein.

                                          THE TAXES AND FEES

         9.        In the ordinary course of business prior to the Petition Date, the Debtors collected,

withheld, and incurred sales, use, income, franchise, and property taxes, as well as other licensing

fees. The Debtors have determined that payment of certain taxes and fees consisting of sales tax,

personal property tax, vehicle inventory tax collected from customers in the State of Texas, an

(collectively, the “Taxes and Fees”) is critical to the success of these Chapter 11 Cases and

Debtors’ ability to wind-down their business, as set forth below. The Debtors remit the Taxes and

Fees to various federal, state, and local governments, including taxing and licensing authorities,

identified in a schedule attached hereto as Exhibit C (collectively, the “Taxing Authorities”).3 The

Debtors pay the Taxes and Fees to the Taxing Authorities on a periodic basis, remitting them

monthly, semi-monthly, quarterly, semi-annually, or annually depending on the nature and

incurrence of a particular Tax or Fee. The Debtors estimate that approximately $571,000 in Taxes

and Fees are outstanding as of the Petition Date. The Debtors request the authority to pay Taxes

and Fees, including any prepetition amounts that are currently payable or may become due and




3
    Although Exhibit C is intended to be comprehensive, the Debtors may have inadvertently omitted Taxing
    Authorities from Exhibit C. By this Motion, the Debtors request relief with respect to Taxes and Fees payable to
    all Taxing Authorities, regardless of whether such Taxing Authority is specifically identified on Exhibit C.

                                                         3
DOCS_DE:244649.1
               Case 23-11388-CTG             Doc 14       Filed 09/07/23   Page 4 of 27




owing to the Taxing Authorities in the first twenty-one (21) days after the Petition Date up to a

cap of $575,000 on an interim basis.

        10.        The Debtors seek the relief requested in this Motion in the event and to the extent

that: (a) the various Taxes and Fees and related obligations that accrued or were assessed prior to

the Petition Date: (i) were not paid prepetition; (ii) were not processed prepetition; or (iii) were

paid in an amount that was less than is actually owed, including amounts subsequently determined

upon any audit or otherwise to be due and owing for periods prior to the Petition Date; (b) any

payments made prepetition were rejected, lost, not collected, or otherwise not received in full by

any Taxing Authority; or (c) any Taxes and Fees and related obligations that accrued or were

assessed prepetition, or will accrue or be assessed postpetition with respect to any prepetition

period, will become due during the pendency of these Chapter 11 Cases in the ordinary course of

business.

        11.        Further, the Debtors request that the Court authorize the Debtors’ banks to receive,

process, honor, and pay all checks, drafts, or other forms of payment drawn or issued on the

Debtors’ bank accounts prior to the Petition Date with respect to such Taxes and Fees (or to re-

issue checks and electronic transfers, as may be necessary), provided that sufficient funds are on

deposit in the applicable accounts to cover such payments.

        12.        In addition, the Debtors collect and hold certain outstanding tax liabilities in trust

for the benefit of the applicable Taxing Authorities, and these funds may not constitute property

of the Debtors’ estates. Certain of the Debtors’ cash on hand may be earmarked for payment of

the Taxes and Fees, as such funds are collected from third parties and held in trust for payment to

various Taxing Authorities, and, therefore, may not be property of the Debtors’ estates. The United

States and the states in which the Debtors operate have laws providing that the Debtors’ officers,



                                                      4
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14       Filed 09/07/23   Page 5 of 27




directors, or other responsible employees could, in certain circumstances, be held personally liable

for the nonpayment of certain Taxes and Fees. To the extent that any Taxes and Fees remain

unpaid as of the Petition Date and thereafter in these jurisdictions, the Debtors’ officers and

directors could be subject to lawsuits or other collection efforts during the pendency of these

Chapter 11 Cases. In addition, nonpayment of such Taxes and Fees may give rise to priority claims

pursuant to section 507(a)(8) of the Bankruptcy Code. In such events, collection efforts by the

Taxing Authorities would be extremely distracting for the Debtors, their directors, and their

independent contractors who were formerly officers, and their efforts to bring these Chapter 11

Cases to an expeditious, successful conclusion. Accordingly, the Debtors submit that the requested

relief is in the best interests of the Debtors’ estates.

        13.        As set forth below, the Debtors submit that payment of the Taxes and Fees is

appropriate to the extent that they are priority or secured claims that are payable in full pursuant

to a chapter 11 plan or, are held in trust, pursuant to the “doctrine of necessity” described below,

and/or on the basis of administrative convenience.

  I.    Sales Taxes

        14.        The Debtors incur, collect, and remit sales and use taxes to the Taxing Authorities

in connection with the prepetition sale of goods and services (collectively, the “Sales and Use

Taxes”). Prior to the Petition Date, in the ordinary course of business, the Debtors paid

approximately $2,209,756 in Sales and Use Tax, including an offset of $1,812,766 in a Sales and

Use Tax deposit with the State of Florida. The Debtors estimate that, as of the Petition Date,

approximately $383,000 in Sales and Use Taxes are accrued and unpaid. The Debtors seek

authority, but not direction, to pay any Sales and Use Taxes that come due during these Chapter

11 Cases, whether or not attributable to the prepetition period.



                                                     5
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14       Filed 09/07/23   Page 6 of 27




 II.    Vehicle Inventory Taxes

        15.        In the State of Texas, the Debtors collected vehicle inventory taxes (the “Vehicle

Inventory Taxes”) from their customers when they sold vehicles to customers prepetition. The

Debtors held the Vehicle Inventory Taxes in trust, and paid such Vehicle Inventory Taxes to the

applicable Taxing Authority once the amount of Vehicle Inventory Taxes was assessed. The

Debtors estimate that, as of the Petition Date, approximately $125,000 in Vehicle Inventory Taxes

are accrued and unpaid. The Debtors seek authority, but not direction, to pay any Vehicle

Inventory Taxes that come due during these Chapter 11 Cases, all of which will be attributable to

the prepetition period.

III.    Personal Property Taxes

        16.        State and local laws in the jurisdictions where the Debtors operate generally grant

Taxing Authorities the power to levy property taxes against the Debtors’ personal property

(collectively, the “Personal Property Taxes”). To avoid the imposition of statutory liens on their

personal property, the Debtors typically paid Personal Property Taxes on personal property that

they own in the ordinary course of business on an annual or semi-annual basis, depending on the

Taxing Authority. The Debtors estimate that, as of the Petition Date, approximately $65,000 in

Personal Property Taxes are accrued and unpaid to the applicable Taxing Authorities, due and

payable in 2024. The Debtors seek authority, but not direction, to pay any Personal Property Taxes

that come due during these Chapter 11 Cases, whether or not attributable to the prepetition period.




                                                     6
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14       Filed 09/07/23   Page 7 of 27




IV.     Regulatory and Other Taxes and Fees

        17.        Prior to the Petition Date, the Debtors incurred a variety of Taxes and Fees related

to licenses and other governmental laws and regulations such as (i) motor vehicle dealer licensing

fees, motor vehicle retail installment seller licensing fees, resale tax certificate fees, and motor

vehicle repair shop registration fees, (ii) annual reporting fees to state governments to remain in

good standing for purposes of conducting business within the state, (iii) other fees for various

business licenses, permits, and certificates required by the Debtors to operate, and (iv) other taxes

and fees, such as certain filing fees, on an annual basis in the ordinary course of business (the

“Regulatory and Other Taxes and Fees”). The Debtors typically remitted Regulatory and Other

Taxes and Fees to the relevant Taxing Authorities on a monthly, quarterly, or annual basis

depending on the type of tax or fee. The Debtors believe that they are current on all Regulatory

and Other Taxes and Fees necessary to wind-down their business operations as of the Petition

Date. However, to the extent that any Regulatory and Other Taxes and Fees were accrued but not

paid prior to the Petition Date, the Debtors seek authority, but not direction, to pay any Regulatory

and Other Taxes and Fees that come due during these Chapter 11 Cases, whether or not attributable

to the prepetition period.

                                        RELIEF REQUESTED

        18.        By this Motion, the Debtors seek entry of interim and final orders, substantially in

the forms attached hereto as Exhibit A and Exhibit B, (i) authorizing, but not directing, the

Debtors to remit and pay Taxes and Fees without regard to whether such Taxes and Fees accrued

or arose before or after the Petition Date, up to a cap of $575,000 on an interim basis and $2.7

million on a final basis; and (ii) granting related relief. For the reasons set forth herein, the Debtors




                                                     7
DOCS_DE:244649.1
                    Case 23-11388-CTG            Doc 14       Filed 09/07/23   Page 8 of 27




     submit that the relief requested herein is in the best interest of the Debtors, their estates, creditors

     and other parties in interest, and therefore, should be granted.

                                              BASIS FOR RELIEF

I.           Payment of Certain Taxes Is Authorized Pursuant to Section 541 of the Bankruptcy
             Code as Such Funds Are Not Property of the Debtors’ Estates

             19.        Certain of the Taxes and Fees may constitute so-called “trust-fund” obligations that

     are required to be collected from third parties and held in trust for payment to taxing and regulatory

     authorities. See, e.g., Off. Comm. of Unsecured Creditors of Columbia Gas Transmission Corp.

     v. Columbia Gas Sys. Inc. (In re Columbia Gas Sys. Inc.), 997 F.2d 1039, 1051 (3d Cir. 1993)

     (determining that refunds required to be collected by federal law-created trust fund were not

     property of debtors’ estates).

             20.        Consequently, the funds that would be used to pay the trust-fund Taxes and Fees

     are not property of the Debtors’ estates. See 11 U.S.C. § 541(d); Begier v. I.R.S., 496 U.S. 53, 55–

     67 (1990) (finding that taxes such as excise taxes, FICA taxes, and withholding taxes are property

     held by debtor in trust for another and, as such, do not constitute property of estate); City of Farrell

     v. Sharon Steel Corp., 41 F.3d 92, 96 (3d Cir. 1994) (determining that withheld taxes were subject

     to a trust); In re Am. Int’l Airways, Inc., 70 B.R. 102, 103 (Bankr. E.D. Pa. 1987) (stating that

     funds held in trust for federal excise and withholding taxes are not property of debtor’s estate and,

     therefore, not available for distribution to creditors). Because these funds are not property of the

     Debtors’ estates and are not available for distribution to creditors, timely payment of the trust-fund

     Taxes and Fees would not prejudice the Debtor’ estates and their creditors.




                                                          8
     DOCS_DE:244649.1
                        Case 23-11388-CTG               Doc 14        Filed 09/07/23       Page 9 of 27




 II.            Payment of Certain of the Taxes Is Appropriate Pursuant to Section 507(a)(8) of the
                Bankruptcy Code

                21.       Many of the Taxes and Fees are priority claims entitled to priority status pursuant

       to section 507(a)(8) of the Bankruptcy Code.4 Thus, they must be paid in full pursuant to any

       chapter 11 plan before any distribution is made to general unsecured creditors.                            As such,

       authorizing the payment of the Taxes and Fees at this time impacts the timing and not the amount

       of the Taxes and Fees, and, therefore, the timely payment of such Taxes and Fees will not prejudice

       other parties in interest. Moreover, by paying legitimate priority claims for the Taxes and Fees

       now, the Debtors will avoid any unnecessary fees, interest, or penalties that might otherwise accrue.

III.            Payment of the Prepetition Taxes and Fees Is Appropriate in the Debtors’ Business
                Judgment and Pursuant to the Doctrine of Necessity

                22.       The Debtors submit that timely payment of the Taxes and Fees is appropriate

       because it is necessary for the success of the Debtors’ Chapter 11 Cases and the wind-down of

       their business operations. Pursuant to section 363(b) of the Bankruptcy Code, a bankruptcy court

       may authorize a chapter 11 debtor to use property of the estate other than in the ordinary course of

       business where the debtor has articulated a valid business justification for the requested use of

       estate assets. See Dai-Ichi Kangyo Bank, Ltd. v. Montgomery Ward Holding Corp. (In re

       Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999) (“In determining whether to

       authorize the use, sale or lease of property of the estate under this section, courts require the debtor

       to show that a sound business purpose justifies such actions.”); In re Filene’s Basement, LLC, No.

       11-13511, 2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014) (“Where the debtor articulates




       4
           Priority status is afforded to unsecured claims of governmental units for a tax on or measured by income or gross
           receipts for a taxable year ending on or before the Petition Date, property taxes incurred before the Petition Date
           and last payable without penalty after one year before the Petition Date, and taxes required to be collected or
           withheld and for which the Debtors are liable in whatever capacity. 11 U.S.C. § 507(a)(8)(A-C).


                                                                  9
       DOCS_DE:244649.1
               Case 23-11388-CTG           Doc 14     Filed 09/07/23    Page 10 of 27




a reasonable basis for its business decisions . . . courts will generally not entertain objections to

the debtor’s conduct.”) (quoting In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y.

1986)); In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (noting that section

363(b) gives the court “broad flexibility” for the debtor to pay prepetition wages as long as the

debtor articulates a business justification).

        23.        Once a debtor articulates such a valid business justification, a presumption exists

in favor of the debtor’s business decisions. See Stanziale v. Nachtomi (In re Tower Air, Inc.), 416

F.3d 229, 238 (3d Cir. 2005) (“Overcoming the presumptions of the business judgment rule on the

merits is a near- Herculean task.”).

        24.        Moreover, section 105(a) of the Bankruptcy Code empowers the Court to “issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C. § 105(a). Accordingly, pursuant to section 105(a) of the Bankruptcy Code, the

Debtors submit that the Court is empowered to grant the relief requested in this Motion. Pursuant

to the “necessity of payment doctrine” and section 105(a) of the Bankruptcy Code, courts have

consistently permitted immediate payment of prepetition obligations where necessary to preserve

or enhance the value of a debtors’ estate for the benefit of all creditors. See, e.g., Miltenberger v.

Logansport, C. & Sw. Ry. Co., 106 U.S. 286, 309 (1882). The modern application of the doctrine

of necessity is largely unchanged from the Supreme Court’s reasoning in Miltenberger. See In re

Lehigh & New England Ry. Co., 657 F.2d 570, 581-82 (3d Cir. 1981) (“[I]n order to justify

payment under the ‘necessity of payment’ rule, a real and immediate threat must exist that failure

to pay will place the continued operation of the [debtor] in serious jeopardy.”); see also In re Just

For Feet, Inc., 242 B.R. 821, 825 (Bankr. D. Del. 1999) (“The Supreme Court, the Third Circuit

and the District of Delaware all recognize the court’s power to authorize payment of pre-petition



                                                    10
DOCS_DE:244649.1
                     Case 23-11388-CTG           Doc 14     Filed 09/07/23     Page 11 of 27




      claims when such payment is necessary for the debtor’s survival during chapter 11.”); In re

      Montgomery Ward Holding Corp., 242 B.R. at 153 (holding that a court may authorize a debtor to

      pay certain prepetition claims so long as a sound business purpose exists and stating that “courts

      consider a variety of factors, which essentially represent a ‘business judgment test’”); In re

      Columbia Gas Sys., Inc., 171 B.R. 189, 191-92 (Bankr. D. Del. 1994).

              25.        Satisfaction of the prepetition Taxes and Fees is necessary to preserve the Debtors’

      resources, thereby better positioning the Debtors to successfully wind-down their operations and

      distribute value to creditors. Delayed payment of the Taxes and Fees may cause the Taxing

      Authorities to take disruptive actions, including audits, lien filings, moving for relief from the

      automatic stay, and other administrative procedures, all of which would consume valuable time

      and resources and divert the Debtors’ attention from their wind-down efforts. Prompt and regular

      payment of the Taxes and Fees will avoid these distractions. Further, any seizure of the Debtors’

      property by the Taxing Authorities would jeopardize creditor recoveries from the Debtors’ assets

      and proceeds thereof. Thus, even if the Debtors could avoid payment of certain Taxes and Fees,

      the Debtors believe that the collateral consequences to the Debtors’ wind-down process would

      vastly exceed whatever modest short-run cost savings the Debtors might achieve.

              26.        Therefore, for the reasons outlined here and in the First Day Declaration, the

      Debtors submit that payment of the Taxes and Fees is appropriate in the Debtors’ business

      judgment and should be authorized pursuant to sections 105(a) and 363(b) of the Bankruptcy Code.

IV.           Financial Institutions Should Be Authorized to Honor and Process Related Checks
              and Transfers

              27.        The Debtors also request that all applicable banks and other financial institutions

      (the “Banks”) be authorized to (a) receive, process, honor, and pay all checks presented for

      payment of, and to honor all fund transfer requests made by the Debtors related to the claims that


                                                          11
      DOCS_DE:244649.1
               Case 23-11388-CTG           Doc 14     Filed 09/07/23    Page 12 of 27




the Debtors request authority to pay in this Motion, regardless of whether the checks were

presented or fund transfer requests were submitted before or after the Petition Date, provided that

sufficient funds are available in the applicable bank accounts to make such payments and (b) rely

on the Debtors’ designation of any particular check as approved by the Court’s order.

        THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

        28.        Certain aspects of the relief requested herein are subject to Bankruptcy Rule 6003.

Bankruptcy Rule 6003 provides that the relief requested in this Motion may be granted if the “relief

is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003. The Third Circuit

has interpreted the language “immediate and irreparable harm” in the context of preliminary

injunctions. In that context, the court has instructed that irreparable harm is a continuing harm

which cannot be adequately redressed by final relief on the merits and for which money damages

cannot provide adequate compensation. See, e.g., Norfolk S. Ry. Co. v. City of Pittsburgh, 235 F.

App’x 907, 910 (3d Cir. 2007) (citing Glasco v. Hills, 558 F.2d 179, 181 (3d Cir. 1977)).

Furthermore, the harm must be shown to be actual and imminent, not speculative or

unsubstantiated. See, e.g., Acierno v. New Castle Cnty., 40 F.3d 645, 653-55 (3d Cir. 1994). The

Debtors submit that for the reasons already set forth herein, the relief requested in this Motion is

necessary to avoid immediate and irreparable harm to the Debtors and, accordingly, should be

granted.

                    WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

        29.        To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements pursuant to Bankruptcy Rule 6004(a) and the fourteen (14)-day stay of an order

authorizing the use, sale, or lease of property pursuant to Bankruptcy Rule 6004(h).




                                                    12
DOCS_DE:244649.1
               Case 23-11388-CTG          Doc 14     Filed 09/07/23     Page 13 of 27




                                    RESERVATION OF RIGHTS

        30.        Nothing contained in this Motion or any actions taken by the Debtors pursuant to

relief granted in the Proposed Orders is intended or should be construed as: (a) an admission as to

the validity of any particular claim against the Debtors; (b) a waiver of any party’s rights to dispute

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d)

an implication or admission that any particular claim is of a type specified or defined in this

Motion; (e) a request or authorization to assume any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) a waiver or limitation of any party’s rights pursuant to the

Bankruptcy Code or any other applicable law; or (g) a concession by any party that any liens

(contractual, common law, statutory, or otherwise) satisfied pursuant to this Motion are valid, and

all parties’ rights to contest the extent, validity, or perfection or seek avoidance of all such liens

are hereby reserved. If the Court grants the relief sought herein, any payment made pursuant to

the Court’s order is not intended and should not be construed as an admission as to the validity of

any particular claim or a waiver of any party’s rights to subsequently dispute such claim.

                                               NOTICE

        31.        The Debtors have provided notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the twenty (20) largest unsecured claims

against the Debtors (on a consolidated basis); (c) the United States Department of Justice; (d) the

office of the attorneys general for the states in which the Debtors operate; (e) the United States

Attorney’s Office for the District of Delaware; (f) the Internal Revenue Service; (g) the Taxing

Authorities; (h) the Brokers; (i) Cerberus Off Lease Only LLC; (j) Spirit Realty, L.P.; (k) Ally

Bank; and (l) any party that has requested notice pursuant to Bankruptcy Rule 2002. As this

Motion is seeking “first day” relief, within two (2) business days of the hearing on this Motion,

the Debtors will serve copies of this Motion and any order entered in respect to this Motion as

                                                   13
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14     Filed 09/07/23     Page 14 of 27




required by Local Rule 9013-1(m). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                        NO PRIOR REQUEST

        32.        No prior request for the relief sought herein has been made by the Debtors to this or

any other court.

                                  [Remainder of Page Intentionally Left Blank]




                                                     14
DOCS_DE:244649.1
               Case 23-11388-CTG       Doc 14     Filed 09/07/23    Page 15 of 27




                                       CONCLUSION

        WHEREFORE, the Debtors respectfully request that the Court enter interim and final

orders, substantially in the forms attached hereto as Exhibit A and Exhibit B, granting the relief

requested herein and such other relief as the Court deems appropriate under the circumstances.

Dated: September 7, 2023                  Respectfully submitted,
Wilmington, Delaware
                                          /s/ Laura Davis Jones
                                          Laura Davis Jones, Esq. (DE Bar No. 2436)
                                          James E. O’Neill, Esq. (DE Bar No. 4042)
                                          Colin R. Robinson, Esq. (DE Bar No. 5524)
                                          PACHULSKI STANG ZIEHL & JONES LLP
                                          919 North Market Street, 17th Floor
                                          P.O. Box 8705
                                          Wilmington, Delaware 19899-8705 (Courier 19801)
                                          Telephone: 302-652-4100
                                          Facsimile: 302-652-4400
                                          email: ljones@pszjlaw.com
                                                  joneill@pszjlaw.com
                                                  crobinson@pszjlaw.com

                                          Proposed Co-Counsel for the Debtors and Debtors in
                                          Possession

                                          -and-

                                          Brian S. Rosen, Esq. (pro hac vice pending)
                                          Megan R. Volin, Esq. (pro hac vice pending)
                                          PROSKAUER ROSE LLP
                                          Eleven Times Square
                                          New York, New York 10036
                                          Telephone: (212) 969-3000
                                          Facsimile: (212) 969-2900
                                          Email: brosen@proskauer.com
                                                  mvolin@proskauer.com

                                          -and-




                                                15
DOCS_DE:244649.1
               Case 23-11388-CTG   Doc 14    Filed 09/07/23   Page 16 of 27




                                     Ashley M. Weringa, Esq. (pro hac vice pending)
                                     Christian J. Palacios, Esq. (pro hac vice pending)
                                     PROSKAUER ROSE LLP
                                     70 W. Madison, Suite 3800
                                     Chicago, Illinois 60602
                                     Telephone: (312) 962-3550
                                     Facsimile: (312) 962-3551
                                     Email: aweringa@proskauer.com
                                             cpalacios@proskauer.com

                                     Proposed Counsel for the Debtors and Debtors in
                                     Possession




                                            16
DOCS_DE:244649.1
               Case 23-11388-CTG   Doc 14   Filed 09/07/23   Page 17 of 27




                                     EXHIBIT A

                               Proposed Interim Order




DOCS_DE:244649.1
                  Case 23-11388-CTG             Doc 14         Filed 09/07/23       Page 18 of 27




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           )   Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     )   (Joint Administration Requested)
                                                           )
                                                           )   Re: Docket No. __

             INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO PAY CERTAIN
                 PREPETITION AND POSTPETITION TAXES AND FEES AND
                           (II) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors

to Pay Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief (the

“Motion”) 2 filed by the above-captioned debtors and debtors in possession (collectively, the

“Debtors”) for entry of an interim order (this “Interim Order”), (i) authorizing, but not directing,

the Debtors to remit and pay Taxes and Fees on an interim basis; (ii) granting related relief; and

(iii) scheduling a final hearing to consider approval of the Motion on a final basis, all as more fully

set forth in the Motion; and upon consideration of the First Day Declaration and the record of these

Chapter 11 Cases; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012, and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.
2
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



DOCS_DE:244649.1
               Case 23-11388-CTG          Doc 14       Filed 09/07/23    Page 19 of 27




this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and the First Day Declaration and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

        1.         The Motion is GRANTED on an interim basis as set forth herein.

        2.         The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed with the Court, and served so as to be received by the following parties,

by no later than 4:00 p.m., prevailing Eastern Time, on _________, 2023: (i) proposed counsel

to the Debtors, Proskauer Rose LLP, Eleven Times Square, New York, NY 10036 (Attn: Brian S.

Rosen (brosen@proskauer.com) and Megan R. Volin (mvolin@proskauer.com); (ii) proposed co-

counsel to the Debtors, Pachulski, Stang, Ziehl, & Jones, 919 North Market Street, 17th Floor,

Wilmington, Delaware 19801 (Attn: Laura Davis Jones); (iii) Office of the United States Trustee,

J. Caleb Boggs Federal Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE

19801; and (iv) if any statutory committee has been appointed in the Chapter 11 Cases, counsel to

such committee.




                                                   2
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14       Filed 09/07/23   Page 20 of 27




        3.         The Debtors are authorized, but not directed, to pay prepetition Taxes and Fees to

the Taxing Authorities, subject to an aggregate maximum of $575,000.

        4.         Nothing in this Interim Order shall be construed as authorizing the Debtors to pay

any amounts on account of past-due taxes or to prepay any Taxes and Fees, except with respect to

trust fund taxes that do not constitute property of the Debtors’ estates.

        5.         This Interim Order is without prejudice to the rights of the Debtors and their estates

to contest the validity, priority or amounts of any Taxes and Fees or audit amounts on any grounds

they deem appropriate, and any rights of the Debtors and their estates with respect to such matters

shall be reserved.

        6.         The Banks shall be and hereby are authorized and directed to receive, process,

honor and pay all checks and fund transfers on account of the Taxes and Fees that had not been

honored and paid as of the Petition Date, provided that sufficient funds are on deposit in the

applicable accounts to cover such payments.               The Banks are authorized to rely on the

representations of the Debtors as to which checks and fund transfers are authorized to be honored

and paid pursuant to this Interim Order.

        7.         Neither the provisions contained herein, nor any actions or payments made by the

Debtors pursuant to this Interim Order, shall be deemed an admission as to the validity of the

underlying obligation or a waiver of any rights any party in interest may have to subsequently

dispute any obligation on any ground that applicable law permits.

        8.         Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.




                                                     3
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14        Filed 09/07/23    Page 21 of 27




        9.         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

        10.        The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Interim Order in accordance with the Motion.

        11.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Interim Order.




                                                      4
DOCS_DE:244649.1
               Case 23-11388-CTG    Doc 14       Filed 09/07/23   Page 22 of 27




                                       EXHIBIT B

                                   Proposed Final Order




                                             5
DOCS_DE:244649.1
                  Case 23-11388-CTG             Doc 14         Filed 09/07/23       Page 23 of 27




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )   Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           )   Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     )   (Joint Administration Requested)
                                                           )
                                                           )   Re: Docket No. __

              FINAL ORDER (I) AUTHORIZING THE DEBTORS TO PAY CERTAIN
                 PREPETITION AND POSTPETITION TAXES AND FEES AND
                            (II) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors

to Pay Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief (the

“Motion”) 2 filed by the above-captioned debtors and debtors in possession (collectively, the

“Debtors”) for entry of a final order (this “Final Order”) (i) authorizing, but not directing, the

Debtors to remit and pay Taxes and Fees on an interim basis; and (ii) granting related relief, all as

more fully set forth in the Motion; and upon consideration of the First Day Declaration and the

record of these Chapter 11 Cases; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012, and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.
2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



DOCS_DE:244649.1
               Case 23-11388-CTG           Doc 14       Filed 09/07/23   Page 24 of 27




of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and the First Day Declaration and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.         The Motion is GRANTED on a final basis to the extent set forth herein.

        2.         Any objections to the Motion not resolved or otherwise withdrawn are

OVERRULED.

        3.         The Debtors are authorized, but not directed, to pay prepetition Taxes and Fees to

the Taxing Authorities, subject to an aggregate maximum of $575,000.

        4.         Nothing in this Final Order shall be construed as authorizing the Debtors to pay any

amounts on account of past-due taxes or to prepay any Taxes and Fees, except with respect to trust

fund taxes that do not constitute property of the Debtors’ estates.

        5.         This Final Order is without prejudice to the rights of the Debtors and their estates

to contest the validity, priority or amounts of any Taxes and Fees or audit amounts on any grounds

they deem appropriate, and any rights of the Debtors and their estates with respect to such matters

shall be reserved.

        6.         The Banks shall be and hereby are authorized and directed to receive, process,

honor and pay all checks and fund transfers on account of the Taxes and Fees that had not been



                                                    2
DOCS_DE:244649.1
               Case 23-11388-CTG            Doc 14        Filed 09/07/23    Page 25 of 27




honored and paid as of the Petition Date, provided that sufficient funds are on deposit in the

applicable accounts to cover such payments.                The Banks are authorized to rely on the

representations of the Debtors as to which checks and fund transfers are authorized to be honored

and paid pursuant to this Interim Order.

        7.         Neither the provisions contained herein, nor any actions or payments made by the

Debtors pursuant to this Final Order, shall be deemed an admission as to the validity of the

underlying obligation or a waiver of any rights any party in interest may have to subsequently

dispute any obligation on any ground that applicable law permits.

        8.         Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        9.         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

        10.        The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Final Order in accordance with the Motion.

        11.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Final Order.




                                                      3
DOCS_DE:244649.1
               Case 23-11388-CTG   Doc 14    Filed 09/07/23   Page 26 of 27




                                      EXHIBIT C

                                   Taxing Authorities




DOCS_DE:244649.1
               Case 23-11388-CTG   Doc 14    Filed 09/07/23    Page 27 of 27




         Tax Type             Taxing Authority                      Address
                         Florida Department of         5050 West Tennessee Street,
 Sales Tax               Revenue                       Tallahassee, FL 32399
                         Comptroller of Public
 Sales Tax               Accounts                      P.O. Box 149355, Austin, TX 78714
                         Tax Collector, Palm Beach     PO Box 3353, West Palm Beach, FL
 Personal Property Tax   County                        33402
                         Orange County Taxing          200 S. Orange Ave, Suite 1700,
 Personal Property Tax   Authority                     Orlando, FL 32801
                         Miami-Dade Property           10710 SW 211 Street, Suite 207,
 Personal Property Tax   Appraiser                     Cutler Bay, FL 33189
                         Manatee County, Florida       PO Box 25300, Bradenton, FL
 Personal Property Tax   Taxing Authority              34206
                         Broward County Taxing         115 South Andrews Avenue, Fort
 Personal Property Tax   Authorities                   Lauderdale, FL 33301
 Texas Vehicle Inventory Texas Comptroller of Public
 Tax                     Accounts                      P.O. Box 149348, Austin TX 78714




DOCS_DE:244649.1
